Case: 1:18-cv-02257-JG Doc #: 4-11 Filed: 10/05/18 1 of 9. PagelD #: 61

 

Governor John Kasich

OHIO
CIVIL RIGHTS
COMMISSION

G. Michael Payton
Becutive Director

Commissioners

Leonard Hubert, Chatnyan
Lori Barreras

Juan P. Cespedes

William W. Patmon [iT
Madhu Singh .

CLEVELAND
REGIONAL
OFFICE

Frank J. Lausche

State Office Building
615 West Superior Ave.
Suite 885

Cleveland, OH 44113
(216) 787-3150 Phone
(888) 278-7101 ‘Toll Free
(216) 787-4121 Fax
www.ctc.chio.gov

Sent via Certified and Regular Mail

August 1, 2017

Deborah A. Moss
63 Salem Court
Hinckley, OH 44233

RE: Deborah Moss v. University Hospitals at Parma Medical
CLEB4(44114)07162017

Dear Ms. Moss:

The Ohio Civil Rights Commission (Commission) previously notified you of receipt of your
inquiry. Copies of the charge affidavit (which may include amendments made by staff based
on the information you have submitted) were sent to you to be signed under oath and returned
to the Commission. As of today, the Commission has not received your executed charges.

As required by Ohio Revised Code Section 4112.05 (B)(1), a charge must be written, signed
and under oath as part of the preliminary investigative process. It is requested that you return
the properly executed charges to the regional office within THIRTY (30) DAYS from the date
of this letter. Failure to comply with this requirement will result in the case being
dismissed as NO JURISDICTION,

Two copies of the charge affidavit are enclosed with this letter. For your convenience, you
may bring your charge affidavits into the regional office to meet with a Commission
representative who can have you sign the charge under oath. In the alternative, you may also
take the copies to a notary to have them notarized. Do not sign the charge affidavits until you
are directed to do so by the notary. If you choose to go to a notary, please retain one copy for
your records and return the remaining copy using the enclosed return envelope which is
provided for your convenience. If circumstances make it a hardship for you to come to our
office or meet with a notary, please contact your investigator to make alternate arrangements.

If you have any questions, please do not hesitate to contact us at 216-787-3150. Our office
hours are Monday through Friday from 8:00 am to 5:00 pm.

For the Commission,

batlava Ul. Seohey

Barbara A. Soohey
Office Manager

AKRON | CINCINNATE |CLEVELAND | COLUMBUS | DAYTON | TOLEDO
Case: 1:18-cv-02257-JG Doc #: 4-11 Filed: 10/05/18 2 of 9. PagelD #: 62

Onto CIVIL RIGHTS COMMISSION

CHARGE OF DISCRIMINATION (EMPLOYMENT)

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EEOC Case Number:

Your Name Company Name ;
Deborah A Moss University Hospitals at Parma Medical
Your Street Address Company Street Address

63 Salem Crt 7007 Powers Blvd

City, State and Zip
Hinckley Ohio 44233

Telephone Number
330-225-9597

Alternate Number (Qptional)

Email Address (Optional)
dabmoss@aol.com

City, State and Zip

Parma Ohio 44129

County (if located in Ohio)
Cuyahoga

Telephone Number

440-743-3000

Date of Hire
24000 12/12/96

# of Employees

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Dates of Discrimination (MM/DDIYYYY): 2/15/2017
{was discriminated an the basis of :
Race/Golor
Sex
v7 = Disability (DO NOT LIST DISABILITY)
Age (over 40 years old only)
Religion
National Origin/Ancestry
Mittary Status
Retaliation (for protesting discrimination)

Please read and review the following:

Please identify how you are a member of the category
you marked on the lett: (If you marked AGE, please list
your BIRTH DATE. If you have marked DISABILITY,

BO NOT IDENTIFY your disability.)
Good reviews for 20 years. New manager

arrives 2016. Good reviaws given and quotes
"nothing in my file’ 2017 put on medical leave

based on disability
RECEIVED

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| have not commenced with any action under sections 4112.14 or 4112.02(N) of the Ohio @ERad bad bil)
respect to the subject matter of the affidavit. | understand that upon filing of this charge with the Ohio Civil Rights
Commission, | am barred from instituting any such civil action and that any monetary award or financial’benefit |
may receive may be limited to back pay and/or restoration of employment fringe benefits and may not include
other damages to which | may be entitled as a result of such civil action.

lam filing a charge alleging AGE DISCRIMINATION and | have read and understand the above

information.

@ lamnot filing a charge alleging AGE DISCRIMINATION and this does not apply to me.

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Case: 1:18-cv-02257-JG Doc #: 4-11 Filed: 10/05/18 3 of 9. PagelD #: 63

_ Charging Party: Debt 7; er | |
Case Number: YLELMIIID bs Wr Ki Ye

Act of Discrimination #1

 

Date of Discrimination (MM/DDIYYYY), 2/15/2017

| was subjected to (mark only one issue): | believe it was because of my:

a denial of promotion RacefColor

@ a forced resignation Sex
demotion ¢ Disability
denial of hire Age
denial of a reasonable accammoadation Religien
different terms and conditions of employment National Origin‘Ancestry
discharge/termination Military Status
discipline Protected activity (retaliation)
harassment/sexual harassment
layot
other

if you have marked “other”, please briefly describe the discriminatory act:

The reason given by the campany for this action is:
Personnel and patient safety, and no longer able to meet job requirements.

| was given this reason by (name and position):
Katherine Holley-Manager of BCOA(my department}

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{am aware of others treated more favorably than me including: JUL 16 2017
No other circumstances
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| Believe that this was discrimination because:

| have been able to handle my job for 20 years, and still can do it. Accusations of not being able to
perform job functions are false.

Page: 2 of 4
Case: 1:18-cv-02257-JG Doc #: 4-11 Filed: 10/05/18 4 of 9. PagelD #: 64

Charging Party: Litany AT) Y of. Ler Day
Case Nomber ft Yi EAE OF, Ki G of Wh 7
Act of Discrimination #2 (Optional)

Date of Discrimination (MM/DDIYYYY):

| was subjected to {mark anly one issue): | believe it was because of my:
a denial of promotion Race/Color
a forced resignation Sex
demotion Disability
denial of hire Age
denial of a reasonable accommodation Religion
different terms and conditions of employment National Origin/Ancestry
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discipline Protested activity (retaliation)
harassment/sexual harasement
layorf
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The reason given by the company for this action is:

| was given this reason by (name and position):

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|am aware of others treated more favorably than me including:

i believe that this was discrimination because:

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Case: 1:18-cv-02257-JG Doc #: 4-11 Filed: 10/05/18 5 of 9. PagelD #: 65

Charging Party: [4
ca te You D1 iNbitl?

Please check to Indicate you have read and agreed to the statements below.

¥ — [understand that | will not be able to sign this form on-line. A copy will be mailed out to me for a
notarized signature, An investigation will not begin until the Ohio Civil Rights Commission
receives a signed and notarized charge from me.

y __ | declare under penalty of perjury that | have read the above charge and that it is true to the best
of my knowledge, information and belief. | will advise the agency/agencies if | change my
address or telephone number and that | will cooperate fully in the processing of my charge in

accorla pet totheirpracedures. < Sweer vader aa MA thal +s Chose

ALL Mi BIBNF

Charging Party Date

 

Subscribed and swom to before me onthis__.3 te day of frags © of 20 |7)

OCRC Representative or Notary

SARAH WILK

 

NOTARY PUBLIC RECEIVED
FOR THE
STATE OF OHIO
= My Commission Expires JUL 16 2017
Jarary 21, 2020 OCRC - INTAKE

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Onto CIVIL RIGHTS COMMISSION
CHARGE OF DISCRIMINATION (EMPLOYMENT)

OCRC Case Number; MVE? ee Hip ff ey ) 7, fe OG. Wy VA

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Your Name

Deborah A Moss

Your Street Address

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City, State and Zip

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Telephone Number
330-225-9597

Alternate Number (Optional)

Email Address (Optional)
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Company Name

University Hospitals at Parma Medical
Company Street Address

7007 Powers Blvd

City, State and Zip

Parma Ohio 44129

Gounty (if located in Ohio)
Cuyahoga

Telephone Number

440-743-3000

Date of Hire
24000 12/12/96

# of Employees

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Sex
#¥ Disability (DO NOT LIST DISABILITY)
Age (over 40 years old only)
Religion
National Origin/Ancestry
Military Status
Retaliation (for protesting discrimination)

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- Charging Pasty DBA por
Case Number: WEED f “Yi We Oi

Act of Discrimination #1

 

Date of Discrimination (MM/DDIYY YY}, 2/15/2017

Iwas subjected to (mark only one issue): | believe it was because of my:

a denial of promotion Race/Color

@ a forced resignation Sex
demotion / Disability
denial of hire Age
denial of a reasonable accommodation : Religion
different terms and conditions of employment National OriginfAncestry
discharge/termination Military Status
discipline Protected activity (retaliation)
harassment/sexual harassment
layotf
other

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Iwas given this reason by (name and position):
Katherine Holley-Manager of BCOA(my department)

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No other circumstances
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| believe that this was discrimination because:

| have been able to handle my job for 20 years, and still can do it. Accusations of not being able to
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Case Number: // ME, EMYUIP 0 4 ip Gi: Wy if Ga

Act of Discrimination #2 (Optional)

Date of Discrimination (MM/DDYYYY):

i was subjected to (mark only one issue): | believe it was because of my:
a denial of promotion Race/Color
a forced resignation Sex
demotion Disability
denial of hire Age
denial of a reasonable accommodation Religion
different terms and conditions of employment National Origin/Ancestry
discharge/termination Military Status
discipline Protected activity (retaliation)
harassment/sexual harassment
layoff
ather

If you have marked “other”, please briefly describe the discriminatory act:

The reason given by the company for this action is:

I was given this reason by (name and position):

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lam aware of others treated more favorably than me including:

| believe that this was discrimination because:

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Charging Party: V4 ; Mb nes |
me es HMENIYORE?

  

Please check to Indicate you have read and agreed to the statements below.

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address or telephone number and that | will cooperate fully in the processing of my charge in
accordance to their procedures.

 

 

Charging Party Date

Subscribed and swom to before me on this day of of 20

 

 

OCRG Representative or Notary

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JUL 16 2017

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